Case 20-11075-elf        Doc 14     Filed 04/14/20 Entered 04/14/20 16:07:22              Desc Main
                                    Document      Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISION

 In re:
                                                         Bankruptcy No. 2:20-bk-11075
 Denise M Hewitt,
                      Debtors                            Chapter 13

 KelDon I LLC                                            Related to Doc. No. 2
                          Movant
     v.
 Denise M Hewitt
                      Debtors/Respondent

 William C. Miller, Esquire
                      Trustee/Respondent



  KELDON I LLC’S OBJECTION TO CONFIRMATION OF DEBTORS’ CHAPTER 13
                                PLAN

          Secured creditor, KelDon I LLC, (“KelDon”), by and through its undersigned counsel,

hereby objects to the proposed Chapter 13 Plan of Debtors, Denise M Hewitt, and in support

thereof alleges as follows:

   1. Debtors, Denise M Hewitt (“Debtors”), filed a voluntary petition pursuant to Chapter 13

          of the Bankruptcy Code on February 21, 2020.

   2. KelDon holds a security interest in the Debtor’s real property located 9347 Edmund

          Street, Philadelphia, PA 19114 (the “Property”), by virtue of a Mortgage recorded with

          the Commissioner of Records of the City of Philadelphia on February 12, 2007 in

          Document ID Number 51630242, which has ultimately been assigned to KelDon.

   3. Said Mortgage secures a Note in the amount of $160,000.00.


                                                                                                18-228863
                                                                                       HEWITT, DENISE
                                                                                 Objection to Confirmation
                                                                                                    Page 1
Case 20-11075-elf      Doc 14     Filed 04/14/20 Entered 04/14/20 16:07:22                Desc Main
                                  Document      Page 2 of 4




   4. On February 21, 2020, Debtor filed a Chapter 13 Plan (the “Plan”). A true and correct

       copy of the Plan is attached hereto as Exhibit “A.”

   5. The Plan fails to include treatment of Secured Creditor’s claim. The subject property and

       claim are, however, listed in Debtor’s schedules. Secured Creditor objects to the Plan and

       seeks clarification as to Debtors’ intentions in regard to the subject property and claim.

   6. Thus, the Plan is unclear, as therefore, infeasible.

   7. Accordingly, pursuant to 11 U.S.C.A. § 1325(a)(5) KelDon I LLC hereby objects to

       Debtors’ proposed Plan due to the fact that the treatment of Secured Creditor’s Claim is

       not accounted for in the Plan filed by the Debtor. See 11 U.S.C.A. § 1322(b)(3) and

       (b)(5).

   WHEREFORE, Secured creditor, KelDon I LLC, respectfully requests that this Court not

confirm Debtors’ Chapter 13 Plan.



                                             Respectfully Submitted,
                                             RAS Crane, LLC
                                             Attorney for Secured Creditor
                                             10700 Abbott's Bridge Road, Suite 170
                                             Duluth, GA 30097
                                             Telephone: 470-321-7112
                                             Facsimile: 404-393-1425

                                             By: /s/Brandon Pack________________
                                             Brandon Pack, Esquire
                                             Pennsylvania Bar Number 311976
                                             Email: bpack@rasnj.com
Date: April 14, 2020




                                                                                                18-228863
                                                                                       HEWITT, DENISE
                                                                                 Objection to Confirmation
                                                                                                    Page 2
Case 20-11075-elf     Doc 14     Filed 04/14/20 Entered 04/14/20 16:07:22              Desc Main
                                 Document      Page 3 of 4




                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA
                            PHILADELPHIA DIVISION

 In re:
                                                      Bankruptcy No. 2:20-bk-11075
 Denise M Hewitt,
                    Debtors                           Chapter 13

 KelDon I LLC                                         Related to Doc. No. 2
                       Movant
     v.
 Denise M Hewitt
                    Debtors/Respondent

 William C. Miller, Esquire
                      Trustee/Respondent



                                CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on April 14, 2020, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been
served via CM/ECF or United States Mail to the following parties:

BRAD J. SADEK
SADEK AND COOPER
1315 WALNUT STREET
SUITE 502
PHILADELPHIA, PA 19107

DENISE M HEWITT
9347 EDMUND STREET
PHILADELPHIA, PA 19114

WILLIAM C. MILLER, ESQ.
CHAPTER 13 TRUSTEE
P.O. BOX 1229
PHILADELPHIA, PA 19105




                                                                                             18-228863
                                                                                    HEWITT, DENISE
                                                                              Objection to Confirmation
                                                                                                 Page 3
Case 20-11075-elf      Doc 14   Filed 04/14/20 Entered 04/14/20 16:07:22         Desc Main
                                Document      Page 4 of 4




UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
200 CHESTNUT STREET
SUITE 502
PHILADELPHIA, PA 19106
                                        Respectfully Submitted,

                                        RAS Crane, LLC
                                        Attorney for Secured Creditor
                                        10700 Abbott's Bridge Road, Suite 170
                                        Duluth, GA 30097
                                        Telephone: 470-321-7112
                                        Facsimile: 404-393-1425

                                        By: /s/Brandon Pack________________
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                                                                                       18-228863
                                                                              HEWITT, DENISE
                                                                        Objection to Confirmation
                                                                                           Page 4
